                     UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

UNITED STATES OF AMERICA and the )
STATE OF TENNESSEE ex rel. JEFFREY H. )
LIEBMAN and DAVID M. STERN, M.D. )
                                      )              Case No. 3:17-CV-00902
Plaintiff,                            )
                                      )              District Judge William L.
v.                                    )              Campbell, Jr.
                                      )
METHODIST LE BONHEUR                  )              Magistrate Judge Barbara D.
HEALTHCARE, METHODIST                 )              Holmes
HEALTHCARE-MEMPHIS HOSPITALS,         )
                                      )
                                      )
Defendants.                           )

                  INDEX OF EXHIBITS TO DEFENDANTS’
              STATEMENT OF UNDISPUTED MATERIAL FACTS

Exhibit No.                               Document Description
                                       Declarations
Exhibit 1     Declaration of Todd Tillmanns, MD
Exhibit 2     Declaration of Sylvia Richey, MD
Exhibit 3     Declaration of Matthew Ballo, MD
Exhibit 4     Declaration of David Portnoy, MD
Exhibit 5     Declaration of Michael Berry, MD
Exhibit 6     Declaration of Gary Shorb
Exhibit 7     Declaration of Chris McLean
Exhibit 8     Declaration & Report of Todd Mello
Exhibit 9     Declaration & Report of Gregory Russo
Exhibit 10    Declaration of Brian Roark
                                  Affiliation Documents
Exhibit 11    Professional Services Agreement (“PSA”)
Exhibit 12    Management Service Agreement (“MSA”)
Exhibit 13    Asset Purchase Agreement (“APA”)
Exhibit 14    Leased Employee and Administrative Services Agreement (“LEA”)
Exhibit 15    Unwind Agreement (“UA”)
Exhibit 16    2019 Real Estate Purchase and Sale Agreement
Exhibit 17    2019 Asset Purchase Agreement
Exhibit 18    [Intentionally Left Blank]



                                         1

 Case 3:17-cv-00902 Document 323 Filed 04/14/23 Page 1 of 5 PageID #: 5740
    Exhibit 19 *   West Request for Proposal (“RFP”)
    Exhibit 20*    Strategic Alliance Proposal to West Clinic (“RFP Response”)
                                   FMV and Related Documents
    Exhibit 21     2011 ECG Fair Market Value Opinion (“FMV”)
    Exhibit 22     2016 ECG Fair Market Value Opinion (“FMV”)
    Exhibit 23     2016 ECG Radiation Oncology Fair Market Value Opinion (“FMV”)
    Exhibit 24     Healthcare Appraisers, Inc. (“HAI”) Engagement Letter
    Exhibit 25     2012 HAI Fair Market Value Opinion (“FMV”)
    Exhibit 26     Email regarding MSA Fair Market Value Opinion (“FMV”)
    Exhibit 27*    Email with Altegra Fair Market Value Opinion (“FMV”)
    Exhibit 28     2016 Pinnacle Fair Market Value Opinion (“FMV”)
    Exhibit 29     2014 Annual Report
    Exhibit 30*    2017 Pinnacle Fair Market Value Opinion (“FMV”)
    Exhibit 31     2011 Horne Fair Market Value Opinion (“FMV”)
    Exhibit 32     APA Promissory Note
    Exhibit 33     APA Sources & Uses
                                            Operations
    Exhibit 34     PwC Oncology Service Line Baseline Assessment
    Exhibit 35*    Feb. 2013 CPQ Minutes
    Exhibit 36*    2012 Strategic Presentation
    Exhibit 37     Schwartzberg Medical Directorship Agreement (“MDA”)
    Exhibit 38     Tauer Medical Directorship Agreement (“MDA”)
    Exhibit 39     Steering Committee Meeting #1
    Exhibit 40     Steering Committee Meeting #2
    Exhibit 41     Overhead Allocation 2012-2017
    Exhibit 42     Overhead Allocation 2012-2018
    Exhibit 43*    Email regarding Overhead Allocation
    Exhibit 44     June 12, 2013 Cancer Council Minutes
    Exhibit 45     Aug. 14, 2013 Cancer Council Minutes
    Exhibit 46     Dec. 4, 2013 Operations Committee Minutes
                                            Depositions
    Exhibit 47     Excerpts of Deposition of Erich Mounce
    Exhibit 48     Excerpts of Deposition of Chuck Lane
    Exhibit 49     Excerpts of Deposition of Chris McLean Volume I
    Exhibit 50     Excerpts of Deposition of Gary Shorb
    Exhibit 51     Excerpts of Deposition of Michael Ugwueke
    Exhibit 52     Excerpts of Deposition of Scott Safriet
    Exhibit 53     Excerpts of Deposition of Lee Schwartzberg
    Exhibit 54     Excerpts of Deposition of Kurt Tauer

*
 West Clinic has agreed that Methodist may publicly file this document that it previously
designated as Confidential. (See Dkt. No. 108.)
                                             2

    Case 3:17-cv-00902 Document 323 Filed 04/14/23 Page 2 of 5 PageID #: 5741
  Exhibit 55     Excerpts of Deposition of Bradley Somer
  Exhibit 56     Excerpts of Deposition of Chris McLean Volume II
  Exhibit 57     Excerpts of Deposition of David Stern
  Exhibit 58     Excerpts of Deposition of Jeffrey Liebman
  Exhibit 59     Excerpts of 30(b)(6) Deposition of Michael Petron
  Exhibit 60     Excerpts of 30(b)(6) Deposition of Lucy Carter
  Exhibit 61     Excerpts of 30(b)(6) Deposition of Tim Smith
  Exhibit 62     Excerpts of Expert Deposition of Lucy Carter
  Exhibit 63     Excerpts of Expert Deposition of Tim Smith
                                           Discovery
                 Barkley, Ronald R. & Guidi, Teri U, “Oncologist-Hospital Alignment
                 Models Built to Compensate Oncologists Fairly,” JOURNAL OF ONCOLOGY
  Exhibit 64     PRACTICE (July 2011).
                 July 25, 2022 United States’ Objections and Responses to Defendants’ First
  Exhibit 65     Set of Interrogatories
                 Dec. 19, 2022 United States’ Supplemental Objections and Responses to
  Exhibit 66     Defendants’ First Set of Interrogatories to the United States
                 Jan. 25, 2023 United States’ Supplemental Objections and Responses to
  Exhibit 67     Defendants’ First Set of Interrogatories to the United States
                 Feb. 10, 2023 United States’ Supplemental Objections and Responses to
  Exhibit 68     Defendants’ First Set of Interrogatories to the United States
                 Notice of Taking FED. R. CIV. P. 30(b)(6) Deposition of Plaintiff United
  Exhibit 69     States (Aug. 19, 2022)
                 United States’ Objections to Defendants’ Notice of Taking Rule 30(b)(6)
  Exhibit 70     Deposition of the United States (Sep. 13, 2022)
                 Amended Notice of Taking FED. R. CIV. P. 30(b)(6) Deposition of Plaintiff
  Exhibit 71     United States (Jan. 16, 2023)
                 The United States’ Objections to Defendants’ Notice of Taking Rule
  Exhibit 72     30(b)(6) Deposition of the United States (Jan. 24, 2023)


DATED this the 14th day of April, 2023.
                                           Respectfully submitted,

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  Case 3:17-cv-00902 Document 323 Filed 04/14/23 Page 3 of 5 PageID #: 5742
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                                    4

Case 3:17-cv-00902 Document 323 Filed 04/14/23 Page 4 of 5 PageID #: 5743
                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing has been served on the following
counsel via the Court’s CM/ECF email notification system on this the 14th day of April, 2023:

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                                                 5

  Case 3:17-cv-00902 Document 323 Filed 04/14/23 Page 5 of 5 PageID #: 5744
